           Case 1:13-cr-00294-LJO-SKO Document 171 Filed 04/24/17 Page 1 of 3

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   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:13 CR 00294 LJO
11
                                    Plaintiff,            MOTION TO DISMISS INDICTMENT
12                                                        (Fed.R.Crim.P. 48(a))
                             v.
13
     VONG SOUTHY,
14   SOMPHANE MALATHONG,
      and
15   KHAMPHON KHOUTHONG,

16                                 Defendants.

17

18            The United States of America, by and through Phillip A. Talbert, United States Attorney, and

19 Kevin P. Rooney, Assistant United States Attorney, hereby moves to dismiss the Indictment as to Vong

20 Southy, Somphane Malathong and Khamphou Khouthong, without prejudice and in the interest of

21 justice.

22            After the indictment in this matter, budgetary restrictions in the 2014 Consolidated and Further

23 Continuing Appropriations Act of 2015, Pub. L. No. 113-235, tit. V, div. B, § 538 and the decision in

24 U.S. v. McIntosh, 833 F.3d 1163 (9th Cir 2016), imposed additional evidentiary requirements to allow

25 the government to continue the prosecution in this matter. Because the government is not confident it

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27 ///

28 ///


      MOTION TO DISMISS                                   1
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          Case 1:13-cr-00294-LJO-SKO Document 171 Filed 04/24/17 Page 2 of 3

 1 can establish those evidentiary requirements with regard to these particular defendants, the government

 2 is moving for dismissal at this time.

 3

 4 Dated: April 21, 2015                                   PHILLIP A. TALBERT
                                                           United States Attorney
 5

 6                                                 By: /s/ KEVIN P. ROONEY
                                                       KEVIN P. ROONEY
 7                                                     Assistant United States Attorney
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      MOTION TO DISMISS                                2
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          Case 1:13-cr-00294-LJO-SKO Document 171 Filed 04/24/17 Page 3 of 3

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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       CASE NO. 1:13 CR 00294 LJO
12                        Plaintiff,                 ORDER ON GOVERNMENT’S MOTION TO
                                                     INDICTMENT
13                         v.
14   VONG SOUTHY,
     SOMPHANE MALATHONG,
15    and
     KHAMPHON KHOUTHONG
16
                          Defendants.
17

18         Pursuant to the motion by the United States, IT IS HEREBY ORDERED in the interest of justice
19 that the Indictment against VONG SOUTHY, SOMPHANE MALATHONG and KHAMPHON

20 KHOUTHONG be dismissed without prejudice to refiling.

21

22
     IT IS SO ORDERED.
23
       Dated:     April 21, 2017                         /s/ Lawrence J. O’Neill _____
24                                              UNITED STATES CHIEF DISTRICT JUDGE
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      MOTION TO DISMISS                              3
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